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   8                        UNITED STATES DISTRICT COURT
   9        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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  11 ALAN BAKER, LINDA B. OLIVER,                   Case No. 2:19-cv-08024-ODW(JC)
  12               Plaintiffs,                      ORDER GRANTING LEAVE TO
                                                    FILE RESPONSE
  13        v.
                                                    Judge:        Hon. Hon. Otis D. Wright II
  14 ALLSTATE INSURANCE                             Crtrm.:       5D
     COMPANY, EDWARD CARRASCO,
  15 and DOES 1 through 10, inclusive,              Trial Date:   None set

  16               Defendants.
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  18        On January 2, 2020, Christopher Hook, by and through counsel, requested
  19 leave to file a response to the imposition and amount of sanctions requested by
  20 Allstate Insurance Company by Tuesday, January 14, 2020. For good cause shown,
  21 it is hereby ordered that Mr. Hook’s request for leave to file a response by January
  22 14, 2020 is GRANTED.
  23        IT IS HEREBY ORDERED.
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  26 DATED: January 3, 2020               By:
                                                Otis D. Wright, II
  27
                                                United States District Judge
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                        [PROPOSED] ORDER GRANTING LEAVE TO FILE RESPONSE
